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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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                                                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                                                         Central District of California
                                                                                                         BY rust       DEPUTY CLERK




                                                                                              CHANGES MADE BY COURT
     Debtor appearing without attorney
     Attorney for: Debtor
     Chapter 13 trustee

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA –NORTHERN DIVISION
 In re:
                                                                           CASE NO.: 9:18-bk-11270-RC
                                                                           CHAPTER: 13
                                                                                  A
 Anthony Adragna, III                                                      ORDER ON:
 Teresa Louise Adragna                                                         DEBTOR’S MOTION TO MODIFY PLAN OR
                                                                               SUSPEND PLAN PAYMENTS
                                                                               DEBTOR’S MOTION FOR AUTHORITY TO
                                                                               REFINANCE REAL PROPERTY
                                                                               DEBTOR’S MOTION FOR AUTHORITY TO
                                                                               SELL REAL PROPERTY
                                                                               DEBTOR’S MOTION FOR AUTHORITY TO
                                                                               ENTER INTO LOAN MODIFICATION
                                                                               OTHER: DEBTOR’S MOTION FOR
                                                                               AUTHORITY TO INCUR DEBT


                                                                           Hearing Date, Time and Place:
                                                                           DATE:                June 14, 2023
                                                                           TIME:                11:00 a.m.
                                                                           COURTROOM:           5D
                                                                           PLACE:               411 West Fourth Street
                                                                                                Santa Ana, CA 92701

                                                            Debtor(s).




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Based on Debtors’ motion filed on 5/11/2023 as docket entry number 84, it is ordered that Debtors’ motion is:


Set for hearing on June 14, 2023 at 11:00 a.m. Both Debtors and their counsel, and the Chapter 13 Trustee, are to
appear at the hearing, although appearances may be made by Zoom, by video (there shall be no call-ins, all Zoom
appearances will require video). The Debtors have approximately 27 payments left to make under their confirmed plan,
totaling more than $45,000. The Debtors’ plan has been modified previously by the Court on no less than three (3)
occasions. See Docket Nos. 31, 50 and 62. The Debtors, with more than two years remaining on plan payments, and
having requested, and been granted (1) suspensions of plan payments, and (2) extensions of the term of the plan, seek
approval to incur debt to purchase a 2023 Jeep, which will ultimately cost $85,544.04.

The Motion shall be augmented on or before June 1, 2023, with declaration(s) and admissible evidence of the efforts of
the Debtors to seek out less expensive alternatives to the $85,000 2023 Jeep Gladiator. The Debtors shall attest to, and
provide admissible evidence of their need to purchase a replacement vehicle at this juncture. If the Debtors’ income has
increased substantially since the most recent modification of their plan by the Court, the Court will require evidence of how
the Debtors are making their best efforts to repay their creditors under their plan.



                                                                       ###




                Date: May 31, 2023




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